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 8                              UNITED STATES DISTRICT COURT

 9                        FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                 October 2020 Grand Jury

11   UNITED STATES OF AMERICA,                   CR      2:21-cr-00239-DSF
12                Plaintiff,                     I N D I C T M E N T

13                v.                             [18 U.S.C. § 371: Conspiracy; 18
                                                 U.S.C. § 659: Theft of Interstate
14   MARLON MOODY and                            and Foreign Shipment; 18 U.S.C.
     BRIAN BENSON,                               § 981(a)(1)(C) and 28 U.S.C.
15                                               § 2461(c): Criminal Forfeiture]
                  Defendants.
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18           The Grand Jury charges:
19                                         COUNT ONE
20                                    [18 U.S.C. § 371]
21                                     [ALL DEFENDANTS]
22   A.      INTRODUCTORY ALLEGATIONS
23           1.    At times relevant to this Indictment, defendants MARLON
24   MOODY and BRIAN BENSON were employed by Alliance Ground International
25   (“AGI”), a company that provided ground handling services at the Los
26   Angeles International Airport (“LAX”) in Los Angeles, California.               As
27   part of their duties at AGI, defendants MOODY and BENSON offloaded
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 1   cargo from aircraft at LAX and had access to certain sections of the

 2   airport.

 3           2.    Sometime prior to on or about April 22, 2020, the Toronto-

 4   Dominion Bank in Toronto, Canada arranged to send approximately 2,000

 5   gold bars valued at approximately $56,000 each from Australia to a

 6   facility maintained by Brink’s Global Services USA, Inc. (“Brink’s”)

 7   in New York.       Brink’s employees subsequently packed the gold bars in

 8   approximately 80 boxes and placed the boxes in multiple shipping

 9   containers (the “gold shipment”).

10           3.    On or about the evening of April 22, 2020, the gold

11   shipment arrived at LAX aboard an airplane operated by Singapore

12   Airlines, as a temporary stop en route to New York.              Upon arrival,

13   Singapore Airlines employees and a ground handling company other than

14   AGI transported the gold shipment to the Singapore Airlines cargo

15   warehouse at LAX.        After boxes of gold in one of the containers were

16   re-secured, Brink’s employees collected the gold shipment and

17   transported it to a temporary holding location outside the airport.

18           4.    While inventorying the gold shipment later on or about

19   April 22, 2020, Brink’s employees determined that a box containing

20   approximately 25 gold bars was missing from the container that was

21   re-secured earlier that day at LAX.

22   B.      OBJECT OF THE CONSPIRACY

23           5.    Beginning on an unknown date but no later than on or about
24   April 23, 2020, and continuing until on or about May 7, 2020, in Los
25   Angeles County, within the Central District of California, and
26   elsewhere, defendants MOODY and BENSON conspired with others known
27   and unknown to the Grand Jury to knowingly and intentionally commit
28   an offense against the United States, namely, Theft of Interstate and

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 1   Foreign Shipment, in violation of Title 18, United States Code,

 2   Section 659.

 3   C.      MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE

 4           ACCOMPLISHED
 5           6.    The object of the conspiracy was to be accomplished, in
 6   substance, as follows:
 7                 a.    Defendant MOODY would take possession of a box
 8   containing approximately 25 gold bars from the gold shipment while
 9   working at LAX.
10                 b.    Defendant MOODY would remove some of the gold bars
11   from the box and hide them on his person.
12                 c.    Defendant MOODY would exchange text messages with
13   defendant BENSON regarding the box and the gold bars.
14                 d.    Defendant BENSON would pick up defendant MOODY and the
15   stolen gold bars from the location where defendant MOODY left the
16   remaining gold bars, and he would transport defendant MOODY and the
17   stolen gold bars to the Polar Air cargo warehouse at LAX, where AGI
18   employees would enter and leave the airport.
19                 e.    Defendants MOODY and BENSON would meet inside the
20   Polar Air cargo warehouse.
21                 f.    Defendants MOODY and BENSON would leave LAX together
22   with stolen gold bars from the gold shipment.
23                 g.    After leaving LAX, defendant MOODY would give stolen
24   gold bars to defendant BENSON and one of defendant MOODY’s family
25   members.
26                 h.    Defendants MOODY and BENSON would hide stolen gold
27   bars at residences in the Los Angeles area.
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 1   D.      OVERT ACTS

 2           7.    In furtherance of the conspiracy, and to accomplish the

 3   object of the conspiracy, on or about the following dates, defendants

 4   MOODY and BENSON, and others known and unknown to the Grand Jury,

 5   committed various overt acts in Los Angeles County, within the

 6   Central District of California, and elsewhere, including, but not

 7   limited to, the following:

 8           Overt Act No. 1:        On or about the morning of April 23, 2020,

 9   defendant MOODY took possession of a box containing approximately 25
10   gold bars from the gold shipment while working at LAX.              Defendant
11   MOODY placed the box on a vehicle used for offloading aircraft cargo
12   (the “belt loader”) and parked the belt loader near the Korean Air
13   cargo warehouse at LAX.
14           Overt Act No. 2:        On or about the morning of April 23, 2020,
15   defendant MOODY, after parking the belt loader, removed approximately
16   four gold bars from the box and hid them on his person.              Defendant
17   MOODY thereafter removed his safety vest and used it to conceal the
18   gold bars on his person.
19           Overt Act No. 3:        On or about the morning of April 23, 2020,
20   defendant MOODY exchanged text messages with defendant BENSON about
21   the box and the gold bars while defendants MOODY and BENSON were at
22   LAX.     During the exchange, defendant BENSON wrote, “That’s big $ lol”
23   and “I need to take a closer look.”            Defendant MOODY informed
24   defendant BENSON that he found the box and said that he could not get
25   all of them.       Defendant BENSON replied, “Where at..         I need to get
26   1.”     Defendant MOODY told defendant BENSON to go to the belt loader
27   and get additional gold bars, and defendant BENSON asked if the box
28   was open.

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 1        Overt Act No. 4:        On or about the morning of April 23, 2020,

 2   defendant BENSON transported defendant MOODY in a van from the belt

 3   loader to the Polar Air cargo warehouse at LAX.

 4        Overt Act No. 5:        On or about the morning of April 23, 2020,

 5   defendants MOODY and BENSON met for several minutes inside the Polar
 6   Air cargo warehouse restroom.
 7        Overt Act No. 6:        On or about the morning of April 23, 2020,
 8   defendants MOODY and BENSON left LAX together while defendant MOODY
 9   was carrying four gold bars from the gold shipment.
10        Overt Act No. 7:        On or about the afternoon of April 23, 2020,
11   defendants MOODY and BENSON met at a parking lot outside the airport,
12   where defendant MOODY gave defendant BENSON a gold bar bearing serial
13   number 3837200.
14        Overt Act No. 8:        On or about the afternoon of April 23, 2020,
15   defendants MOODY and BENSON exchanged text messages about the gold
16   bars and about pawn shops in the Los Angeles area.
17        Overt Act No. 9:        On or about April 24, 2020, defendants MOODY
18   and BENSON exchanged additional text messages.          During the exchange,
19   defendant MOODY wrote, “We got stash the shit.          Some polar crew.
20   Report the shit.    They found it.”     At one point, defendant BENSON
21   wrote, “I am telling you it was a inside job before you found it [].”
22   Later in the exchange, defendant MOODY wrote, “Your boy goin to
23   jail.”
24        Overt Act No. 10:       On or about May 4, 2020, defendant MOODY
25   gave a gold bar bearing serial number 3837199 to a family member and
26   directed the family member to exchange the gold bar for a vehicle
27   and/or money.
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 1        Overt Act No. 11:       Sometime prior to on or about May 7, 2020,

 2   defendant MOODY buried two gold bars bearing serial numbers 3837196

 3   and 3837198 in the backyard of a residence located on West 73rd

 4   Street in Los Angeles, California.

 5        Overt Act No. 12:       Sometime prior to on or about May 7, 2020,

 6   defendant BENSON placed the gold bar bearing serial number 3837200 he
 7   received from defendant MOODY inside a bedroom at a residence located
 8   on East 85th Street in Los Angeles, California.
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 1                                      COUNT TWO

 2                      [18 U.S.C. § 659; 18 U.S.C. § 2(a)]

 3                                  [ALL DEFENDANTS]

 4        On or about April 23, 2020, in Los Angeles County, within the

 5   Central District of California, and elsewhere, defendants MARLON

 6   MOODY and BRIAN BENSON, each aiding and abetting the other,

 7   unlawfully, willfully, and knowingly, and with intent to convert to

 8   their own use and benefit, embezzled, stole, took, concealed, and by

 9   fraud and deception obtained, from an airport, that is, the Los

10   Angeles International Airport located in Los Angeles, California,

11   goods and chattels of a value in excess of $1,000, that is, four gold

12   bars bearing serial numbers 3837196, 3837198, 3837199, and 3837200,

13   which were moving as, were a part of, and constituted an interstate

14   and foreign shipment of freight, express, and property from Australia

15   to New York.

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 1                                  FORFEITURE ALLEGATION

 2                 [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3           1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 981(a)(1)(C) and Title 28, United States

 7   Code, Section 2461(c), in the event of any defendant’s conviction of

 8   the offenses set forth in either of Counts One or Two of this

 9   Indictment.

10           2.    Any defendant so convicted shall forfeit to the United

11   States of America the following:

12                 (a)   all right, title, and interest in any and all

13   property, real or personal, constituting, or derived from, any

14   proceeds traceable to the offenses; and

15                 (b)   To the extent such property is not available for

16   forfeiture, a sum of money equal to the total value of the property

17   described in subparagraph (a).

18           3.    Pursuant to Title 21, United States Code, Section 853(p),

19   as incorporated by Title 28, United States Code, Section 2461(c), any

20   defendant so convicted shall forfeit substitute property, up to the

21   value of the property described in the preceding paragraph if, as the

22   result of any act or omission of said defendant, the property

23   described in the preceding paragraph or any portion thereof (a)

24   cannot be located upon the exercise of due diligence; (b) has been

25   transferred, sold to, or deposited with a third party; (c) has been

26   placed beyond the jurisdiction of the court; (d) has been

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 1   substantially diminished in value; or (e) has been commingled with

 2   other property that cannot be divided without difficulty.

 3                                            A TRUE BILL
 4

 5                                                      /S/
                                              Foreperson
 6

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     Acting United States Attorney
 8
     BRANDON D. FOX
 9   Assistant United States Attorney
     Chief, Criminal Division
10

11

12   SCOTT M. GARRINGER
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     Public Corruption and Civil
18   Rights Section

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